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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS


ALLIANCE FOR AUTOMOTIVE                    )
INNOVATION,                                )
                                           )     CIVIL ACTION NO.
                  Plaintiff,               )     20-12090-DPW
vs.                                        )
                                           )
                                           )
MAURA HEALEY, ATTORNEY                     )
GENERAL OF THE COMMONWEALTH                )
OF MASSACHUSETTS,                          )
in her official capacity,                  )
                                           )
                                           )
                  Defendant.               )

                                    NOTICE
                                  July 1, 2022

      The need to consider fully the implications of the long anticipated

decision — not issued until the final day of the Supreme Court’s term

yesterday — in West Virginia v. Environmental Protection Agency, 2022 WL

2347278 (U.S. June 30, 2022) and unforeseen and unforeseeable scheduling

complications encountered in the past several weeks coming upon the

extended holiday weekend prompt this Notice to the parties that issuance of

the Findings and Conclusions in this case will be further delayed. The delay is

not anticipated to extend beyond the grace notice period included in the

Further Modified Stipulation (ECF No. 273) entered April 22, 2022.



                                     /s/ Douglas P. Woodlock
                                     DOUGLAS P. WOODLOCK
                                     UNITED STATES DISTRICT JUDGE
